                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

  UNITED STATES OF AMERICA                         )
                                                   )
  v.                                               )     No.    3:93-CR-031
                                                   )
  MARK ANTHONY ANDREWS                             )


                             MEMORANDUM AND ORDER

         By judgment entered March 15, 1994, this Court sentenced the defendant to a net

  term of life imprisonment after a jury found the defendant guilty on 12 counts of the

  indictment. The life sentence was statutorily mandated for the conviction on Count Two,

  conspiring to distribute powder cocaine.

         Now before the Court is the defendant’s “Motion for Sentence Reduction Pursuant

  to the First Step Act of 2018.” [Doc. 1154]. Through counsel, the defendant asks the Court

  to reduce his sentence pursuant to United States v. Booker, 543 U.S. 220 (2005), and the

  First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194, which retroactively applies

  certain provisions of the Fair Sentencing Act of 2010, Pub. L. 111-220, 124 Stat. 2372.

  Counsel electronically submitted the motion using a filing code which indicated that the

  defendant is “eligible for immediate release.”

         The United States has responded in opposition to the motion [doc. 1155] and the

  defendant has submitted a reply [doc. 1156]. For the reasons that follow, the motion will

  be denied.




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                                               I.

                                           Authority

         “Federal courts are forbidden, as a general matter, to modify a term of imprisonment

  once it has been imposed, but the rule of finality is subject to a few narrow exceptions.”

  Freeman v. United States, 564 U.S. 522, 526 (2011) (internal citation and quotation marks

  omitted). One such exception is 18 U.S.C. § 3582(c)(1)(B), which provides that “the court

  may modify an imposed term of imprisonment to the extent otherwise expressly permitted

  by statute . . . .” The First Step Act, which was enacted on December 21, 2018, expressly

  permits sentence modification for some defendants.

                                               II.

                               Section 404 of the First Step Act

         Section 404(b) of the First Step Act instructs that the “court that imposed a sentence

  for a covered offense may, on motion of the defendant . . . , impose a reduced sentence as

  if sections 2 and 3 of the Fair Sentencing Act of 2010 . . . were in effect at the time the

  covered offense was committed.” A “covered offense” is “a violation of a Federal criminal

  statute, the statutory penalties for which were modified by section 2 or 3 of the Fair

  Sentencing Act of 2010 . . . , that was committed before August 3, 2010.” First Step Act,

  § 404(a).

         Section 2 of the Fair Sentencing Act of 2010 modified the statutory penalties for

  certain cocaine base offenses. Fair Sentencing Act of 2010, Pub. L. No. 111-220, 124 Stat.




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  2372. Section 3 of that act eliminated enhanced mandatory minimum sentences for simple

  possession of cocaine base. Id.

         According to the instant motion,

         Pursuant to the Fair Sentencing Act of 2010, Mark Andrews would have
         faced a reduced sentence had it been in effect at the time. His conviction and
         sentence were for a violation of an offense covered by Section[] … 404 of
         the First Step Act. If Section 2 of the Fair Sentencing Act of 2010 had been
         in effect at the time of Mark Andrews’s sentencing, he would not have been
         subject to a minimum mandatory life sentence and qualifies for a reduction
         in his sentence.

  [Doc. 1154, ¶ 13]. The defendant is simply incorrect.

         Again, the First Step Act offers the possibility of a reduced sentence for persons

  sentenced prior to the enactment of the Fair Sentencing Act of 2010 who were convicted

  of a “covered offense,” that being a cocaine base offense affected by section 2 or 3 of the

  Fair Sentencing Act. The instant defendant was convicted on 12 counts of his indictment

  but none of those 12 counts were cocaine base offenses.

         The defendant is serving a life sentence for a powder cocaine offense. Sections 2

  and 3 of the Fair Sentencing Act of 2010 did not address powder cocaine. As such, the

  defendant is not entitled to relief under section 404(b) of the First Step Act of 2018.

                                               III.

                               Section 401 of the First Step Act

         The defendant also cites the First Step Act’s sections 401(a)(1) and (a)(2) as avenues

  for relief. Those sections, respectively, redefine the types of prior convictions that can be




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  used to enhance a defendant’s sentence under 21 U.S.C. § 851 and reduce the enhanced

  mandatory minimum sentences for certain controlled substance offenses.

          Section 401(c) of the First Step Act makes clear that Section 401 applies only to

  persons who had not yet been sentenced as of the act’s enactment date – December 21,

  2018.    See 132 Stat. 5194, 5221.      The instant defendant was sentenced in 1994.

  Accordingly, Section 401 of the First Step Act does not apply to him.

                                                IV.

                                            Booker

          Lastly, the defendant contends that

          [i]n United States v. Booker, 443 U.S. 220 (2005), the United States Supreme
          Court held that the United States Sentencing Guidelines were advisory rather
          than mandatory and review of sentences was to be by an unreasonableness
          standard. Accordingly, Mark Andrews’ sentence as to Count 2 of mandatory
          life imprisonment cannot stand.

  [Doc. 1154, ¶ 12].

          Booker does not apply retroactively. See, e.g., Duncan v. United States, 552 F.3d

  442 (6th Cir. 2009). Further, the defendant’s life sentence on Count Two was dictated by

  statute and not by a then-mandatory guideline range.




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                                            V.

                                        Conclusion

        For all these reasons, the defendant’s motion for sentence reduction [doc. 1154] is

  DENIED.



              IT IS SO ORDERED.

                                                        ENTER:



                                                               s/ Leon Jordan
                                                        United States District Judge




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